 

 

Case16-10569 Doc2 Fi|ec| 01/19/16 Page1 of1

 

 

 

Certificate Number: 12459-MD-CC-026819909

12459 19909

 

-MD-CC-0268

_(_;_ERTIFLCATE OF Col_JNsELING

I CERTIFY that on Januarv 18, 2016, at 8:47 o'clock PM PST, Lisa Herbert
received from Abacus Credit Counseling, an agency approved pursuant to ll
U.S.C. § 111 to provide credit counseling in the District of Marvland, an
individual [or group] briefing that complied with the provisions of ll U.S.C. §§
109(h) and 111.

A debt repayment plan was not prepared If a debt repayment plan was prepared, a
copy of the debt repayment plan is attached to this certificate

This counseling session was conducted by internet.

Date: January 18, 2016 By: /s/Carla Saldana
Name: Carla Saldana

Title: Credit Counselor

* Individuals who wish to tile a bankruptcy case under title 11 of the United States Bankruptcy
Code are required to file with the United States Bankruptcy Court a completed certificate of
counseling from the nonprofit budget and credit counseling agency that provided the individual
the counseling services and a copy of the debt repayment plan, if any, developed through the
credit counseling agency. See 11 U.S.C. §§ 109(h) and 521(b).

 

 

 

 

 

